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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_____________________________________

UNITED STATES OF AMERICA,

             Plaintiff,
                                  v.                   10-CR-188A(Sr)

CARLOS CRUZ,

           Defendant.
_____________________________________




                     REPORT, RECOMMENDATION AND ORDER

             This case was referred to the undersigned by the Hon. Richard J. Arcara,

in accordance with 28 U.S.C. § 636(b)(1), for all pretrial matters and to hear and report

upon dispositive motions. Dkt. # 251.


                             PRELIMINARY STATEMENT

             The defendant, Carlos Cruz, is charged in count 4 of a 13 count

indictment against 23 defendants with conspiracy to possess with intent to distribute,

and to distribute, five kilograms or more of a mixture and substance containing cocaine

and a mixture and substance containing marijuana, in violation of Title 21, United

States Code, Sections 841(a)(1), 841(b)(1)(A) and 841(b)(1)(D), in violation of Title 21

United States Code Section 846. Dkt. #1. The defendant also faces forfeiture of

money pursuant to Title 21, United States Code, Sections 853(a)(1), 853(a)(2), and

853(p). Dkt. #1.
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             The defendant filed an omnibus motion. Dkt. #333. The government filed

a response and request for reciprocal discovery. Dkt. #379. This Report,

Recommendation and Order addresses defendant’s motion for suppression of

statements and evidence obtained pursuant to Title III intercept orders.



                             DISCUSSION AND ANALYSIS

Suppression of Statements

             Defendant requests a hearing to determine whether the rights of the

defendant were denied by action of the police and whether any statement made after

the execution of his arrest was voluntary and based upon an appropriate, informed and

voluntary waiver of the right to counsel. Dkt. #333, pp. 30-31.



             The government responds that defendant has not proffered any basis for

suppression. Dkt. #379, pp.24-29.



             In order to warrant a suppression hearing, the defendant must

demonstrate a specific factual dispute that can be resolved by a hearing. See United

States v. Mathurin, 148 F.3d 68 (2d Cir. 1998) (evidentiary hearing required where

defendant averred that he was never given Miranda warnings); United States v.

Richardson, 837 F. Supp. 570 (S.D.N.Y. 1993) (evidentiary hearing not required where

defendant failed to make specific factual allegations of illegality based upon personal

knowledge but defense counsel merely alleged that defendant did not knowingly waive

his rights before answering questions); United States v. Ahmad, 992 F. Supp. 682, 685

(S.D.N.Y. 1998) (affidavit of defense counsel seeking suppression of custodial

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statements for failure to provide Miranda warnings insufficient to warrant evidentiary

hearing or suppression); United States v. Caruso, 684 F. Supp. 84, 87 (S.D.N.Y. 1988)

(“without a supporting affidavit of someone with personal knowledge of the underlying

facts, the court need not resolve factual disputes that may be presented by the moving

papers.”). Indeed, the defendant’s papers must raise a “sufficiently definite, specific,

detailed, and nonconjectural” factual basis for the motion in order to require a hearing.

United States v. Pena, 961 F.2d 333, 339 (2d Cir. 1992). As defendant has failed to

raise a factual basis for his motion to suppress statements, it is recommended that this

aspect of his motion be denied.



Suppression of Communications Intercepted by Wiretap

              Defendant argues that all wire and oral communications acquired

pursuant to the electronic intercept orders should be suppressed because the orders

are impermissibly over broad; the application failed to demonstrate necessity; the

application failed to establish probable cause to believe that pertinent conversations

would be intercepted over the target telephones; and the intercepted communications

were not properly minimized. Dkt. #333, pp.29-30. Defendant argues that he is an

aggrieved person because the government alleges that his conversations were

intercepted. Dkt. #333, p.30.



Standing

              18 U.S.C. § 2518(10)(a) permits any aggrieved person to move to

suppress the contents of any intercepted communication on the ground that the


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communication was unlawfully intercepted; the order approving interception was

insufficient on its face; or the interception was not made in conformity with the

interception order. An “aggrieved person” is defined as “a person who was a party to

any intercepted wire, oral, or electronic communication or a person against whom the

interception was directed.” 18 U.S.C. § 2510(11). This provision “is to be construed in

accordance with standing requirements usually applied to suppression claims under the

fourth amendment.” United States v. Gallo, 863 F.2d 185, 192 (2d Cir. 1988), cert.

denied, 489 U.S. 1083 (1989). As defendant Carlos Cruz, a.k.a. Compi, was a named

target and interceptee on the Title III interception orders docketed as 09-MR-88 and 09-

MR-103, he has demonstrated standing to move against the intercept orders.



Overbreadth

              Defendant’s allegation that “the warrants are impermissibly overbroad” is

contradicted by the terms of the electronic intercept order, which clearly delineates the

target telephone and the nature of the communications which may be intercepted.

Accordingly, it is recommended that this aspect of defendant’s motion to suppress be

denied.



Probable Cause

              18 U.S.C. § 2518(3) permits a federal court

              to authorize interception of oral or wire communications if it
              determined, on the basis of facts submitted by the applicant,
              that there was probable cause to believe (a) that the
              individual was committing, had committed, or was about to
              commit an offense enumerated in 18 U.S.C. § 2516, (b) that
              particular communications concerning that offense would be

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               obtained through such interception, and © that the facilities
               to be surveilled were being used or were about to be used in
               connection with the commission of such an offense. The
               standard of probable cause is the same as the standard for
               a regular search warrant, and a reviewing court will defer to
               the issuing court’s determination that there was probable
               cause as long as there existed a substantial basis for a . . .
               judge to conclude that a search would uncover evidence of
               wrong-doing.

United States v. Biaggi, 853 F.2d 89, 95 (2d Cir. 1988) (internal quotations and citations

omitted), cert. denied, 489 U.S. 1052 (1989). Thus, a determination of probable cause

is based upon the totality of the circumstances, to wit, “a practical, common-sense

decision whether, given all the circumstances set forth in the affidavit before him,

including the ‘veracity’ and ‘basis of knowledge’ of persons supplying hearsay

information, there is a fair probability that . . . evidence of a crime will be found . . . .”

Illinois v. Gates, 462 U.S. 213, 238 (1983).



               Upon review of the affidavits in support of the applications for intercept

orders, the Court is satisfied that there is probable cause to believe that interception of

communications over the target telephone would produce evidence of drug crimes.

Accordingly, it is recommended that this aspect of defendant’s motion to suppress be

denied.



Necessity

               In accordance with 18 U.S.C. § 2518(1)©, each application for an order

authorizing or approving the interception of a wire, oral, or electronic communication

must include


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              a full and complete statement as to whether or not other
              investigative procedures have been tried and failed or why
              they reasonably appear to be unlikely to succeed if tried or
              to be too dangerous.

“[G]eneralized and conclusory statements that other investigative procedures would

prove unsuccessful” will not satisfy the statute. United States v. Lilla, 699 F.2d 99, 104

(2d Cir. 1983). However, the government is not required to wait until “all other possible

means of investigation have been exhausted by investigative agents; rather, they only

require that the agents inform the authorizing judicial officer of the nature and progress

of the investigation and of the difficulties inherent in the use of normal law enforcement

methods.” United States v. Torres, 901 F.2d 205, 231 (2d Cir.), cert. denied, 498 U.S.

906 (1990), quoting United States v. Vazquez, 605 F.2d 1269, 1282 (2d Cir.), cert.

denied, 444 U.S. 1019 (1979). Moreover, in reviewing a decision issuing an intercept

order, it is not appropriate for the Court “to make a de novo determination of the

sufficiency of the application,” but only “to decide if the facts set forth in the application

were minimally adequate to support the determination that was made.” United States v.

Diaz, 176 F.3d 52, 109 (2d Cir.), cert. denied by Rivera v. United States, 528 U.S. 875

(1999) (internal quotation omitted). Recognizing the difficulty of successfully utilizing

traditional law enforcement methods to surveil complex criminal operations involving

large conspiracies, the Court of Appeals for the Second Circuit has adopted a practical,

commonsense approach to such determinations. United States v. Concepcion, 579

F.3d 214, 218 (2d Cir. 2009).



              As in Torres, the defendant’s claim that traditional law enforcement

methods had proven successful and could continue to advance the investigation,

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thereby negating the need for interception of electronic communications, is

unpersuasive. Giving proper deference to Chief Judge Skretny’s review and acceptance

of the extensive affidavits of Special Agent John A. Yervelli, Jr. and Special Agent

Jason E. Galle in support of the applications for the intercept orders and continuation

thereof, it is concluded that Chief Judge Skretny properly found that conventional

investigative techniques had been tried and failed and that alternatives to wire

interception would be unlikely to succeed or would be too dangerous, thereby

necessitating the intercept orders and extensions thereto. Accordingly, it is

recommended that this aspect of defendant’s motion to suppress be denied.



Minimization

               Only a person with a possessory or proprietary interest in the device being

intercepted has standing to contest the minimization procedures employed by law

enforcement agencies. See United States v. Ruggiero, 928 F.2d 1289, 1303 (2d Cir.)

(“doubtful that defendants had standing to raise a minimization challenge to wiretaps on

phones not in their residences even though many of the challenging defendants were

named targets of the wiretap orders), cert. denied sub nom Gotti v. United States, 502

U.S. 938 (1991); United States v. Fury, 554 F.2d 522, 526 (2d Cir.) (defendant Fury did

not have standing to raise the issue of improper minimization because it was not

defendant’s phone that was tapped and the failure to minimize the conversations

intercepted is an invasion of privacy as to the owner of the phone that was tapped, not

defendant), cert. denied, 433 U.S. 910 (1977). As neither of the wiretap orders were

directed to defendant’s telephone, defendant lacks standing to challenge the


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minimization of calls with respect to that telephone. Therefore, it is recommended that

this aspect of defendant’s motion to suppress be denied.



              Therefore, it is hereby ORDERED pursuant to 28 U.S.C. § 636(b)(1),

that:



              This Report, Recommendation and Order be filed with the Clerk of the

Court.



              ANY OBJECTIONS to this Report, Recommendation and Order must be

filed with the Clerk of this Court within fourteen (14) days after receipt of a copy of this

Report, Recommendation and Order in accordance with the above statute,

Fed.R.Crim.P. 58(g)(2) and Local Rule 58.2.



              The district judge will ordinarily refuse to consider de novo, arguments,

case law and/or evidentiary material which could have been, but were not presented to

the magistrate judge in the first instance. See, e.g., Patterson-Leitch Co., Inc. v.

Massachusetts Municipal Wholesale Electric Co., 840 F.2d 985 (1st Cir. 1988).

Failure to file objections within the specified time or to request an extension of

such time waives the right to appeal the District Judge's Order. Thomas v. Arn,

474 U.S. 140 (1985); Wesolek, et al. v. Canadair Ltd., et al., 838 F.2d 55 (2d Cir.

1988).



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              The parties are reminded that, pursuant to Rule 58.2 of the Local Rules

for the Western District of New York, "written objections shall specifically identify the

portions of the proposed findings and recommendations to which objection is made and

the basis for such objection and shall be supported by legal authority." Failure to

comply with the provisions of Rule 58.2, or with the similar provisions of

Rule 58.2 (concerning objections to a Magistrate Judge's Report,

Recommendation and Order), may result in the District Judge's refusal to

consider the objection.



DATED:        Buffalo, New York
              June 15, 2012


                                            s/ H. Kenneth Schroeder, Jr.
                                           H. KENNETH SCHROEDER, JR.
                                           United States Magistrate Judge




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